
Flatbush Chiropractic, P.C., as Assignee of Silface, Gala, Appellant, 
againstState Farm Mutual Automobile Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Rivkin Radler, LLP (Stuart M. Bodoff, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Carol Ruth Feinman, J.), entered July 10, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Flatbush Chiropractic, P.C., as Assignee of Silface, Gala v State Farm Mut. Auto. Ins. Co. (__ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2014-2172 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: November 03, 2017










